NameCase   2:23-cv-00349-CBM-PVC Document 38 Filed 11/20/23 Page 1 of 1 Page ID #:1192
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
MG PREMIUM LTD, a limited liability company               CASE NUMBER:
organized under the laws of the Republic of Cyprus,
                                                                         2:23-cv-00349-CBM-PVC
                                           PLAINTIFF(S)
                  v.
NGUYEN HOI AND DOES 1-20, d/b/a PORNEZ.net                         NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually     Filed ✔ Lodged : (List Documents)

1. Proposed Amended Judgment




Reason:
      Under Seal
      In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Per Court order dated:
      Other:




November 20, 2023                                          A. Eric Bjorgum
Date                                                       Attorney Name
                                                           MG Premium Ltd
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
